                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               DEL RIO DIVISION


UNITED STATES OF AMERICA,                     §
                                              §
                     Plaintiff,               §
                                              §
vs.                                           §     Cause No. DR-16-CR-1299 (1) AM
                                              §
MARTIN REYES-DUQUE,                           §
                                              §
                     Defendant.               §


                         REPORT AND RECOMMENDATION

TO THE HONORABLE ALIA MOSES, UNITED STATES DISTRICT COURT JUDGE
FOR THE WESTERN DISTRICT OF TEXAS:

       This case has been referred, by a general order, to the undersigned United States

Magistrate Judge for the taking of a felony guilty plea. 28 U.S.C. § 636 (b) (3); United States

vs. Dees, 125 F. 3d 261 (5th Cir.1997).

       On November 16, 2016, Defendant and counsel appeared before the undersigned

United States Magistrate Judge who addressed Defendant personally in open court. The

Court informed Defendant that he had a right to have his plea taken by a United States

District Judge and advised him of the admonishments mandated by Rule 11 (b) of the Federal

Rules of Criminal Procedure. The undersigned United States Magistrate Judge finds as

follows:

              1) Defendant, with the advice of his attorney, has consented to the taking of
                 his guilty plea by the undersigned United States Magistrate Judge but
                 understands that sentencing will be conducted by a United States District
                 Court Judge;
              2) Defendant understood the nature of the charges and penalties;

              3) Defendant understood his constitutional and statutory rights and freely and
                 voluntarily waived them;

              4) Defendant pleaded guilty to Count One of the Indictment without a plea
                 agreement;

              5) Defendant's plea was made freely and voluntarily;

              6) Defendant is competent to enter this plea of guilty;

              7) There is a sufficient factual basis for this plea.


                                  RECOMMENDATION

       It is, therefore, the recommendation of the undersigned magistrate judge that

Defendant’s guilty plea be ACCEPTED and that a judgment of guilt be entered against him.

                                           NOTICE

       The United States District Clerk shall serve a copy of this report and recommendation

on all parties either by (1) electronic transmittal to all parties represented by an attorney

registered as a filing user with the Clerk of Court pursuant to the Court’s Procedural Rules

for Electronic Filing in Civil & Criminal Cases; or (2) certified mail, return receipt requested,

to any party not represented by an attorney registered as a filing user. Pursuant to 28 U.S.C.

§ 636(B)(1), any party who wishes to object to this report and recommendation may do so

within fourteen days after being served with a copy. Failure to file written objections to the

findings and recommendations contained in this report shall bar an aggrieved party from

receiving a de novo review by the District Court of the findings and recommendations

contained herein, see 28 U.S.C. § 636 (b)(1)(c), and shall bar an aggrieved party from
appealing “the unobjected-to proposed factual findings and legal conclusions accepted by the

District Court” except on grounds of plain error. Douglass v. United States Servs. Auto.

Ass’n, 79 F.3d 1415, 1429 (5th Cir.1996).

       The Clerk shall promptly deliver copies of this Report and Recommendation to

all parties and their counsel.

       SIGNED and ENTERED on November 17, 2016.




                                        __________________________________
                                        COLLIS WHITE
                                        UNITED STATES MAGISTRATE JUDGE
